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Entered: April 17, 2018
Signed: April 17, 2018

SO ORDERED




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND
                                         at Greenbelt
                               In re: Case No.: 18−10233 − LSS              Chapter: 7
In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Brenda Lee Dooley
   debtor has no known aliases
   46538 Majestic Court
   Lexington Park, MD 20653
   Social Security No.: xxx−xx−9005
   Employer's Tax I.D. No.:


                                                FINAL DECREE

Petition for Relief under Chapter 7 of Title 11, U.S. Code was filed by or against the above−named debtor(s) on
1/8/18.

The estate of the above−named debtor(s) has been fully administered.

ORDERED, that Gary A. Rosen is discharged as trustee of the estate of the above−named debtor(s); and the Chapter
7 case of the above named debtor(s) is closed.



                                                    End of Order
fnldec − rhegerle
